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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                 Plaintiff,
                                               Civil Action No. 1:20-cv-03590-JEB
       v.

META PLATFORMS, INC.

Defendant.



             [PROPOSED] ORDER DENYING META PLATFORMS, INC.’S
             MOTION TO COMPEL ANSWER TO INTERROGATORY NO. 2

      Upon consideration of Defendant’s Motion To Compel Answer to Interrogatory No. 2, it

is hereby DENIED.

      IT IS SO ORDERED.



DATED: __________________, 2023                        ___________________________
                                                       Honorable James E. Boasberg
                                                       United States District Judge
